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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF INDIANA
                         LAFAYETTE DIVISION

APRIL RICHESIN,                      )
                                     )
                  PLAINTIFF,         )
                                     )
            VS.                      )     CAUSE NO. 4:13-CV-24-RLM-PRC
                                     )
COMENITY CAPITAL BANK F/K/A          )
WORLD FINANCIAL CAPITAL BANK,        )
JOHN DOE CORP., AND ALLIANCE         )
DATA SYSTEMS CORP.,                  )
                                     )
                  DEFENDANTS.        )


                                ORDER

     Pursuant to the plaintiff’s notice of dismissal (Doc. No. 4), the court

ORDERS this cause DISMISSED with prejudice.

     SO ORDERED.

     ENTERED: July 23, 2013




                                     /s/ Robert L. Miller, Jr.
                                  Judge
                                  United States District Court
